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                                               ------- LAW OFFICES -------




                                       61 SOUTH PARAMUS ROAD, SUITE 250
PARSIPPANY OFFICE:                         PARAMUS, NEW JERSEY 07652                                 R. SCOTT FAHRNEY, ESQ.
90 E. HALSEY RD., SUITE 385                                                                     SFAHRNEY@DECOTIISLAW.COM
PARSIPPANY-TROY HILLS, NJ 07054                                                                               201.347.2146
                                                                                                REPLY TO: PARSIPPANY OFFICE
                                             TELEPHONE: (201) 928-1100
                                             TELEFAX:   (201) 928-0588
                                             WWW.DECOTIISLAW.COM

                                                      March 9, 2022
       Via ECF
       Martin Luther King Building
       & U.S. Courthouse
       50 Walnut Street
       Newark, NJ 07102

               Re:     WC6 Doe v. Morris County, et al
                       Docket No.: 2:21-cv-20607-JMV-JSA

       Dear Sir or Madam:

               Pursuant to Local Rule 7.1 (D) (5), all Defendants in the above matter respectfully request a fourteen
       (14) day adjournment of the Defendants motion to dismiss Plaintiff’s complaint, so that the Defendants have
       appropriate time to reply to the plaintiff’s opposition filed on March 4, 2022. Please note that this request
       pursuant to Local Rule 7.1 (D) (5) is being made on behalf of all Defendants, relating to Documents 7, 8, 9.

               The above motion has not been adjourned or previous extended by the Defendants, and no previous
       extension under local rule 7.1 has been requested by the Defendants. The Motion date for Defendants’
       motions are currently scheduled for March 21, 2022.

              The new motion day shall be April 4, 2022. Defendants shall file their reply papers on or before
       March 28, 2022.

               I thank you for your time and attention to this matter. Should you have any questions or concerns
       regarding the above, please do not hesitate to contact our office.


                                                         Very truly yours,


                                                       R. Scott Fahrney, Esq.,
       MJS/tad
       cc:    All Counsel of Record, via ECF
              John Inglesino, Esq./Justin Marchetta, Esq.,
              Peter Gordon
              Evan Hoebich



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